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10                               UNITED STATES DISTRICT COURT
11                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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   PATRICK CALHOUN, et al., on behalf of             Case No. 4:20-cv-05146-YGR-SVK
13 themselves and all others similarly situated,
                                                     [PROPOSED]   ORDER     GRANTING
14                 Plaintiffs,                       GOOGLE LLC’S SUPPLEMENT TO
                                                     ADMINISTRATIVE    MOTION    FOR
15          vs.                                      CLARIFICATION OF JUNE 13, 2022
                                                     DISCOVERY ORDER (DKT. 700)
16 GOOGLE LLC,
                                                     Judge: Hon. Susan van Keulen
17
            Defendant.
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                                                                Case No. 4:20-cv-05146-YGR-SVK
                       [PROPOSED] ORDER GRANTING GOOGLE’S SUPPLEMENT TO ADMIN MOTION FOR
                                                                                CLARIFICATION
Case 4:20-cv-05146-YGR   Document 719-1   Filed 06/16/22   Page 2 of 2
